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                      N THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

JOSEPH L. TYSK,                                       )
                                                      )
               Plaintiff,
                                                      )
       v.                                             )       Civil Action No. 5:19-C V-294
                                                              (JUDGE BAILEY)
PROCOLLECT, INC.,                                     )
                                                      )
               Defendant.                             )



                             AGREED DISMISSAL ORDER

       Now come the parties and advise the Court that all matters in controversy herein have

been amicably adjusted, compromised and settled, and move the Court, by counsel, to dismiss

the Complaint against Defendant, with prejudice. The Court, perceiving no objection thereto,

hereby grants said motion, and it is, therefore,

       ORDERED that the Complaint and cause of action of Plaintiff is hereby dismissed, with

prejudice, and this action is hereby stricken from the docket of this Court.

       The Clerk is hereby directed to send a copy of this Order to all counsel of record.

       ENTER this           day oth ttcA.r



                                                                         District Judge


Approved and agreed to by:

/s/ Thomas E. Mclntire
Thomas E. Mclntire, Esq.
WV State Bar No. 2471
Thomas E. Mclntire & Associates, L.C.
82 V2 Fourteenth Street
Wheeling, WV 26003
Counselfor Plaintiff

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THIS DOCUMENT PREPARED BY:

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